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 5           UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
 6                                           FRESNO DIVISION
 7   UNITED STATES OF AMERICA,  )                            CASE NUMBER: 1:06-CR-00365-LJO
                                )
 8                Plaintiff,    )
                                )                            ORDER TO CONTINUE SENTENCING
 9   v.                         )
                                )
10   ABDEL BASET JAWAD and ABDUL)
     MUNIEM MOHAMAD JAWAD,      )
11                              )
                                )
12                Defendants.   )
                                )
13
14          GOOD CAUSE APPEARING, the Court Orders that the Sentencing of defendants ABDEL
15   BASET JAWAD and ABDUL MUNIEM MOHAMAD JAWAD, presently calendared for May 20,
16   2013 be continued to July 8, 2013 at 10:30 a.m. and the following revision of deadlines related to the
17   rescheduled sentencing hearing:
18          Objections Due to Probation and AUSA by June 17, 2013, and Objections Filed With Court
19   and Served on USPO and AUSA by July 1, 2013.
20          WHETHER COUNSEL SHAPIRO COMES INTO THIS CASE OR NOT IS OF NO
21   CONCERN TO THIS COURT. THAT SAID, THIS CONTINUANCE IS GIVEN DUE TO
22   THE CONFLICT ISSUE OF THE PARALEGAL. THE JULY 8 SENTENCING DATE IS
23   FIRM. IF COUNSEL SHAPIRO WISHES TO COME INTO THE CASE, IT WILL BE
24   CONDITIONED ON HIS BEING AVAILABLE AND PREPARED TO PROCEED WITH
25   THE SENTENCING ON THAT DATE. OTHERWISE, HE WILL NOT BE COMING
26   INTO THE CASE.
27
28   IT IS SO ORDERED.
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     Dated:   April 17, 2013           /s/ Lawrence J. O'Neill  b9ed48
 2                                    UNITED STATES DISTRICT JUDGE
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